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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ENTERTAINMENT ONE UK LTD.,

       Plaintiff,
                                                           Case No.: 1:18-cv-4926
v.
                                                           Judge John J. Tharp, Jr.
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,                   Magistrate Judge Jeffrey T. Gilbert

       Defendants.


                               MOTION FOR TURNOVER ORDER

 NOW COMES the Plaintiff, ENTERTAINMENT ONE UK LTD., by and through its counsel,

 and moves this court for an Order directing ContextLogic, Inc. to turn over the sum of

 $369,228.34 which they are holding pursuant to a Citation to Discover Assets.

 In Support of its motion, Plaintiff states:

     1. On April 30, 2019, ContextLogic, Inc.’s response to Plaintiff’s Citation to Discovery

        Assets stated it was holding $369,228.34 as of 4/26/2019.

     2. ContextLogic, Inc. advised on May 7, 2019 that it would turn over said sum of

        $369,228.34 upon receipt of an appropriate turnover order.



 WHEREFORE, Plaintiffs pray this Court to issue an Order directing ContextLogic, Inc. to turn

 over the amount of $369,228.34 it is holding.
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DATED: May 7, 2019                          Respectfully submitted,


                                            /s/ Keith A. Vogt
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                                            ATTORNEY FOR PLAINTIFF
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on May 7, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt
